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   8                           UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
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  11 IMPACT ENGINE, INC.,                    CASE NO. 3:19-cv-01301-CAB-DEB
  12              Plaintiff,
                                             [PROPOSED] ORDER GRANTING
  13        vs.                              JOINT MOTION FOR EXPEDITED
                                             BRIEFING SCHEDULE
  14 GOOGLE LLC,

  15              Defendant.
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                                                            Case No. 3:19-cv-01301-CAB-DEB
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   1        Pursuant to the stipulation of the parties and for good cause being shown, the
   2 joint motion Dkt. No. 109 seeking an expedited briefing schedule for Plaintiff’s

   3 Objection to the Court’s August 12th Order (Dkt. 104) is GRANTED as follows:

   4           • Google’s Response to Impact Engine’s August 26 Objection is due on
   5              September 9, 2020.
   6           • Impact Engine will not file a reply brief.
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   8        IT IS SO ORDERED.
   9 Dated: September 1, 2020

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